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    8                         UNITED STATES DISTRICT COURT
    9              FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   11   ORLANDO GARCIA,                           Case No. 2:20-cv-01901-JWH (KESx)
   12            Plaintiff,
                                                  JUDGMENT
   13      v.
   14   KAZAM M. BAKER, in individual and
          representative capacity as trustee of
   15     The Sedghian Family Trust dated
          10/10/2003;
   16   JENAN M. BAKER, in individual and
          representative capacity as trustee of
   17     The Sedghian Family Trust dated
          10/10/2003;
   18   FRENCH PASTRY CAFE DE JOUR,
          INC., a California Corporation; and
   19     Does 1-10,
   20            Defendants.
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    1         Following the Order to Show Cause hearing and Status Conference on
    2   January 14, 2022, it is hereby ORDERED, ADJUDGED, and DECREED as
    3   follows:
    4         1.     This Court possesses subject matter jurisdiction over the above-
    5   captioned action pursuant to 28 U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3) &
    6   (4) for violations of the Americans with Disabilities Act of 1990 (the “ADA”),
    7   42 U.S.C. §§ 12101, et seq.
    8         2.     Fictitiously named Defendants Does 1-10 are DISMISSED.
    9         3.     On July 26, 2021, at the request of Plaintiff Orlando Garcia, the
   10   Court issued an Order DISMISSING Defendants Kazam M. Baker and Jenan
   11   M. Baker as parties in this action with prejudice.
   12         4.     With respect to Garcia’s ADA claim, permanent injunctive relief is
   13   ordered in favor of Garcia, and against Defendant French Pastry Café De Jour,
   14   Inc. (“French Pastry Café”), in that French Pastry Café is DIRECTED to
   15   make the following changes or modifications in compliance the 2010 Americans
   16   with Disabilities Act Standards for Accessible Design at the French Pastry Café
   17   located at or about 1017 E. Broadway, Glendale, California:
   18                a.    French Pastry Café is DIRECTED forthwith to provide
   19         dining surfaces in compliance with relevant 2010 ADA Standards for
   20         Accessible Design;
   21                b.    French Pastry Café is DIRECTED forthwith to provide a
   22         sales counter or portion of sales counter in compliance with relevant 2010
   23         ADA Standards for Accessible Design; and
   24                c.    French Pastry Café is DIRECTED forthwith to keep and
   25         maintain those features as accessible at all times.
   26         5.     With respect to Garcia’s Unruh Act claim, Judgment is entered in
   27   favor of Garcia, and against French Pastry Café, in the amount of $4,000.
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    1         6.     Other than potential post-judgment remedies (including those
    2   provided in Rule 54(d) of the Federal Rules of Civil Procedure), to the extent
    3   that any party requests any other form of relief, such request is DENIED.
    4         IT IS SO ORDERED.
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    6   Dated: March 8, 2022
                                               John W. Holcomb
    7                                          UNITED STATES DISTRICT JUDGE
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